Case 2:04-cv-02310-SHI\/|-dkv Document 7 Filed 08/04/05 Page 1 of 2 Page|D 10

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IN THE uNI'rED sTATEs nIsTRIcT con%§

FOR THE WESTERN DISTRICT OF TENNE§§F _ ~
WESTERN DIVISION inc h PH h 00

 

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BAMBI IEIIITCI'IEI.¢L.r
Plaintiff,
No. 04-2310-MaV

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WYETH, INC.' . ,

Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION TO STAY

 

Before the court is defendant Wyeth, Inc.’s “Motion to Stay
All Proceedings Pending Settlement Pursuant to the New Settlement
Process or Transfer to MDL 1203,” filed on February 14, 2005.
Plaintiff Bambi Mitchell has not filed a response. For good cause

shown, the court GRANTS Defendant's motion to stay.

So ORDERED this 3" day of August 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:04-CV-02310 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

